                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                               Case Number: 1:20-cv-00085

 NATIONWIDE GENERAL                            )
 INSURANCE COMPANY,                            )
                                               )
          Plaintiff,                           )
                                               )
 vs.                                           )              STIPULATION OF
                                               )            VOLUNTARY DISMISSAL
 CIBIRIX, INC.; ASHISH ROY; JAVIER             )
 LARA, ALVARO LARA; and                        )
 CAROLINA CARPORTS, INC.,                      )
                                               )
          Defendants.                          )



                 Plaintiff Nationwide General Insurance Company (“Plaintiff”), by and

through undersigned counsel, pursuant to Rule 41(1)(a)(ii) of the Federal Rules of Civil

Procedure, with the consent of all parties to this action as evidenced by the signatures of

counsel below, hereby dismisses this action against Defendants Cibirix, Inc., Ashish Roy,

Javier Lara, Alvaro Lara, and Carolina Carports, Inc. (“Defendants”) with prejudice.

                 Respectfully submitted, this the 8th day of April, 2020.

                                       BAILEY & DIXON, LLP



                                       By: /s/ David S. Wisz
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STIPULATED AND AGREED TO BY:

BELL, DAVIS & PITT, P.A.                 SPILMAN, THOMAS & BATTLE, PLLC


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Ashish Roy, Javier Lara, and             Carports, Inc.
Alvaro Lara




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                             CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of April, 2020 I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will
automatically send a notice of electronic filing to all persons registered for ECF as of that
date.


                                      BAILEY & DIXON, LLP

                                      By: /s/ David S. Wisz
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